Case 1:18-mj-05275-|\/|.]R Document 1 Filed 12/15/18 Page 1 of 8

AO 91 (Rev. 02/09) Crimina| Comp|aint

United States )istrict Court

for the
Western District of New York

 

 

 

 

United States of America

Case No. 18-mj- 507/15

V.

JEFFREY RICHARDS

 

Defendant

CR]l\/HNAL COMPLA]NT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief

COUNT l
On or about December 14, 2018, in the County of Niagara, in the Western District of New York, the
defendant, Jeffrey Richards, knowingly, intentionally, and unlawfully possessed with intent to distribute 100 grams
or more of a mixture and substance containing a detectable amount of heroin, a Schedule I controlled substance, in
violation of Title Zl, United States Code, Sections 84l(a)(l) and 84l(b)(l)(B).

MI_Z
On or about December 14, 2018, in the County of Niagara, in the Western District of New York, the
defendant, Jeffrey Richards, during and in relation to a drug trafficking crime for which he may be prosecuted in a
court of the United States, that is, a violation of Title Zl, United States Code, Section 84l(a)(l), committed in the
manner set forth in Count l, the allegations of which are incorporated by reference, knowingly and unlawfully
possessed approximately ten firearms, all in violation of Title lS, United States Code, Section 924(€)(1)(A)(i).

COUNT 3
On or about December l4, 2018, in the County of Niagara, in the Western District of New York, the
defendant, Jeffrey Richards, knowingly, intentionally and unlawfully maintained a premises for the purpose of

distributing, storing, and manufacturing controlled substances, in violation of Title 21, United States Code, Section
856.

COUNT 4
On or about December l4, 2018, in the County of Niagara, in the Western District of New York, the
defendant, Jeffrey Richards, knowingly made a firearm, namely, an explosive device, a destructive device as described
in Title 26, United States Code, Sections 5845(a)(8) and 5845(f), in violation of Chapter 53 of Title 26, United States
Code, all in violation of Title 26, United States Code, Sections 5822, 5845(a)(8), 5845(®, 5845(i), 586l(f), and 5871.

Case 1:18-mj-05275-|\/|.]R Document 1 Filed 12/15/18 Page 2 of 8

This Criminal Complaint is based on these facts:

Continued on the attached sheet.

€@/m\

/Nd Complainant’s signature

THOMAS V. WEIS
SPECIAL AGENT
FEDERAL BUREAU OF INVESTIGATION

Printed name and title

Sworn to before me and signed in my presence.

\
Date: December/f 2013 %M 00 <E£w/»

Judge’s signature

 

HONORABLE MICHAEL J. ROEMER
City and State: Buffalo New York UNITED STATES MAGISTRATE JUDGE

Printea’ name and title

 

Case 1:18-mj-05275-|\/|.]R Document 1 Filed 12/15/18 Page 3 of 8

AFF]])AVIT

STATE OF NEW YORK )
COUNTY OF ERIE ) SS:
CITY OF BUFFALO )

I. INTRODUCTION

1, Thomas V. Weis, Special Agent of the Federal Bureau of lnvestigation, United

States Department of Justice, having been duly sworn, states as follows:

1. 1 arn a Special Agent of the Federal Bureau of Investigation (FBI) of the United
States Department of Justice. As such, l arn an “investigative or law enforcement ocher of
the United States” within the meaning of 18 U.S.C. § 2510(7), that is, an officer of the United
States who is empowered by law to conduct investigations of and to make arrests for offenses

enumerated in 18 U.S.C. § 2516.

2. I have served as an FBI Special Agent since March of 2017.1 During that time,
l have participated in investigations involving drug trachking and organized crime matters.
In addition, 1 have had the opportunity to work with several other FBI agents and other law
enforcement agents and oflicers of varying experience levels, who have also investigated drug
trachking networks, with regard to the manner in which controlled substances are obtained,

diluted, packaged, distributed, sold and used within the framework of drug trafficking in the

 

1 1 was also previously employed from 2007 to 2014 as a United States Army lnfantry Ofiicer,
and from 2014 to 2015 as a United States Secret Service Uniformed Officer with the
Department of Homeland Security.

Case 1:18-mj-05275-|\/|.]R Document 1 Filed 12/15/18 Page 4 of 8

Western District of New York. As a result of my experience, l am familiar with how
controlled substances are obtained, diluted, packaged, distributed, sold, and used in the
framework of drug trafficking in the Western District of New York and how drug traffickers
utilize wire communications to facilitate their illegal activities l\/.[y investigative experience
detailed herein, and the experiences of other law enforcement agents, who are participating

in this investigation, serve as the basis for the opinions and conclusions set forth herein.

3. Your Affiant states that this investigation was Conducted by Special Agents of
the FBI and other law enforcement personnel assigned to the FBI Buffalo Division - Joint
Terrorism Task Force (FBl-JTTF) 2. Your Affiant is fully familiar with the facts and
circumstances of this investigation, such familiarity having been gained through: your
Affiant’s personal knowledge based upon your Affiant’s participation in this investigation;
statements by and/ or reports provided to your Afiiant by law enforcement personnel of the
FBI-JTTF, Niagara Falls Police Department (NFPD), information provided by confidential
sources; controlled evidence purchases of illegal drugs, physical surveillances, records checks

of various public and law enforcement data bases, and other investigative techniques

4. This affidavit is made in support of a criminal complaint charging JEFFREY
RICHARDS with violations of Title 21, United States Code, Sections 841(a)(l) (distribution

of a controlled substance) and 856 (maintaining drug-involved premises); Title 18, United

 

2 The JTTF is comprised of Agents and Investigators from Homeland Security lnvestigations, lmmigration and
Customs Enforcement, Department of State, Border Patrol, Niagara County Sheriffs Office, Niagara Falls
Police Department, New York State Police, Amherst Police Department, and the Buffalo Police Department.

Case 1:18-mj-05275-|\/|.]R Document 1 Filed 12/15/18 Page 5 of 8

States Code, Section 924(€)(1)(A)(i) (possession of firearms in furtherance of drug trafficking);
and Title 26, United States Code, Section 5861(f) (making a firearm in violation of this
chapter). Under Title 26, the definition of a “Hrearm” includes destructive devices E 26
U.S.C. §5845(a). A destructive device is defined in 26 U.S.C. § 5845(f) and includes any
bomb, any weapon which can expel a projectile by the action of an explosive, and any
combination of parts designed or intended for use in converting any device into a destructive

device.

]I. PROBABLE CAUSE
5. For the reasons set out in this affidavit, there is probable cause to believe that
the Target Offenses have been committed, are being committed, and will continue to be

committed by an individual known as JEFFREY RICHARDS.

6. An investigation by the FBI-JTTF has revealed that RICHARDS is a
significant narcotics trafficker and improvised explosive device maker in the Western New
York area. Based on information obtained from confidential sources (CS-l, CS-2, SOl-l),
agents have learned that RICHARDS obtains heroin and other narcotics from unlmown
suppliers for redistribution in the Niagara Falls, New York area and utilizes his residence to
facilitate his drug trafficking and bomb making Similarly, this investigation has revealed that

RICHARDS’s associates also use his residence to store illegal narcotics

Case 1:18-mj-05275-|\/|.]R Document 1 Filed 12/15/18 Page 6 of 8

7. Since 2018, the FBI has received information from confidential sources
regarding RICHARDS. In particular, the FBI learned that RICHARDS is a self-proclaimed
white supremacist who acquires explosive materials and objects to include metal cans for
bomb-making purposes Some of these explosives were iii the shape of a ball with nails inside,
wrapped in muffler tape, and have a green fuse on the top. RICHARDS also knows how to
make liquid explosives with chlorine tablets and brake fluid. RICHARDS keeps these bombs
at his residence RICHARDS also stores a large amount of illegal narcotics in which he sells

from his residence

8. Similarly, the FBI learned that RICHARDS possesses heroin, fentanyl, and
other illegal narcotics inside his residence RICHARDS has left glass and metal jars filled
with nails and explosive material in plain View in his residence RICHARDS stores firearms

and narcotics in his residence

9. On Friday, December 14, 2018, the Honorable Michael J. Roemer, United
States Magistrate Judge, signed a search warrant for the search of RICHARDS’s residence
That day, FBl-JTTF executed the search warrant and seized the following items from
RICHARDS’ residence:

a. Over 100 grams of suspected heroin/fentanyl mix.

b. 100 Xanax pills

c. Estimate one half pound of suspected marijuana
d. More than three grams of suspected cocaine
e. Various drug packaging and processing materials to including scales, baggies,

and razor blades

Case 1:18-mj-05275-|\/|.]R Document 1 Filed 12/15/18 Page 7 of 8

f. Various drug paraphernalia

g. Five bolt action rifles

h. Two shotguns

i. One Taser.

j. Large amount of various ammunition

k. Several commercial fireworks

l. One suspected improvised explosive device
m. Assorted nails, nuts, and bearings

10. During the probable cause arrest of RICHARDS, a .45 caliber pistol was
located under the driver seat of the vehicle that RICHARDS was operating Based on my
training and experiences 1 know that drug dealers will carry firearms on their persons or in

their vehicles during the distribution and trafficking of illegal narcotics

ll. During the post-Miranda interview of RICHARDS, RICHARDS stated that
he buys fireworks and other commercial explosive devices and subsequently improves the
concussion and explosions of these devices Based on the assorted nails, nuts, and ball
bearings located iri his bedroom of his residence, and based on of my training and experiences
1 know that these items are used frequently in the production of improvised explosive devices
Furthermore, 1’ve consulted with FBI Special Agent Thomas Horrigan, who is a trained and
certified bomb technician, who confirmed that the materials recovered, as well as the

improvised explosive device, is a destructive device, as defined in 26 U.S.C. § 5845(f)

Case 1:18-mj-05275-|\/|.]R Document 1 Filed 12/15/18 Page 8 of 8

IV. CONCLUSION
WI-IEREFORE, for all the foregoing, your affiant submits that based upon the
information set forth in this affidavit, there is probable cause to believe that JEFFREY
RICHARDS has violated Title 21, United States Code, Sections 84l(a)(l) (distribution of a
Controlled substance) and 856 (maintaining drug-involved premises); Title 18, United States
Code, Section 924(€)(1)(A)(i) (possession of firearms in furtherance of drug trafficking); and
Title 26, United States Code, Section 586l(f) (making a firearm in violation of this chapter).

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Special Agent
Federal Bureau of Investigation
Sworn to before me
_ H
this / f day of December, 2018.

HoNoRABLE i\%icHAEL J. RoEMER
United States Magistrate Judge

